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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

      DECLARATION OF J. ALEX HALDERMAN IN SUPPORT OF
          PLAINTIFFS’ JOINT MOTION FOR SANCTIONS

      J. ALEX HALDERMAN declares, under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

Description of Work in Connection with the GEMS Discovery Dispute

      1.     I was extensively involved with Curling Plaintiffs’ litigation of the

production of the GEMS databases, as described in the contemporaneously filed

Joint Motion for Sanctions (the “GEMS Dispute”).

      2.     Over several weeks, I communicated extensively via email and

teleconference with a team of attorneys at Morrison & Foerster, LLP, and Krevolin

& Horst, LLC, regarding the GEMS Dispute. To ensure the aptness of my advice

under the circumstances, I also reviewed Defendants’ filings and the Court’s orders.



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          3.   Upon instructions and with the oversight of counsel, I drafted multiple

declarations to support Curling Plaintiffs’ filings in the GEMS Dispute, and also

reviewed and commented on many of Curling Plaintiffs’ draft court filings to

improve their quality and accuracy from a technical perspective.

          4.   I participated in a teleconference with the Court on the subject of the

GEMS Dispute on June 28, 2019, and a conference with the Court on the same

subject on July 11, 2019.

          5.   After the Court ordered Defendants to produce the GEMS databases, I

prepared a secured environment, compared Defendants’ databases to publicly

available GEMS databases, and reported my finding to counsel that there was

nothing whatsoever unique about the structure of the Georgia GEMS databases. I

later testified in a declaration and during the July 26, 2019 hearing to that same

effect.

Identification of Time and Expenses

          6.   On August 13, 2019, Cameron Tepfer of Morrison & Foerster asked me

to identify the time and expenses appearing in my invoice dated July 28, 2019, that

was related to the GEMS Dispute.




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      7.     That same day, I reviewed my invoice and other records of my activity

during the relevant time period and identified the relevant time entries by adding

yellow highlight.

      8.     Today I again reviewed my invoice dated July 28, 2019. I confirm that

the highlighted entries accurately identify time and expenses in connection with the

GEMS Dispute, but not those time and expenses in connection with the substantive

analysis of the GEMS databases that was always intended.

      9.     Today I also reviewed a new invoice that I generated to cover work

between July 29, 2019, and October 4, 2019, and I highlighted the entries to identify

time in connection with the GEMS Dispute, but not with substantive analysis of the

GEMS databases that was always intended.

      10.    A true and correct copy of the highlighted invoices are attached to this

declaration as Exhibits A and B, and their irrelevant entries have been redacted.

      11.    The total amount of my time on the GEMS Dispute was 53.5 hours,

which at a rate of $750/hour equals a total of $40,125.

      12.    Total expenses necessarily incurred for the GEMS Dispute were

$856.99, for a total amount of fees and expenses to be recovered of $40,981.99.




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Reasonableness of Time, Expenses, and Hourly Rates

      13.    I have described my qualifications at length in earlier declarations, such

as the one I filed on August 7, 2018. Those qualifications remain true and accurate.

      14.    Based on my professional experience in expert consulting, the amounts

of time I expended and the expenses I incurred were reasonable and necessary under

the circumstances of the GEMS Dispute.

      15.    The $750/hour rate I charged for my work in the GEMS Dispute is my

standard rate that I charge paying clients for expert consulting services like the ones

I actually provided in the GEMS Dispute.

      16.    Based on my experience and familiarity with expert consulting on

issues of election integrity and security, the hourly rate I charged in connection with

the GEMS Dispute is fair and reasonable under the circumstances.



      I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 4th day of October, 2019, in Bregenz, Austria.




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